        Case 3:18-cr-00599-MO          Document 141       Filed 12/02/21     Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION




 UNITED STATES OF AMERICA

        v.                                                              No. 3:18-cr-000599-MO

 JAMES LEE WOOD,
                                                                       OPINION AND ORDER
                       Defendant.



MOSMAN,J.,

       This matter comes before me on remand Defendant James Lee Wood's Motion to Reduce

Sentence [ECF 132]. Specifically, Mr. Wood moves for a 36-month reduction in his sentence

pursuant to 18 U.S.C. § 3582(c)(1 )(A)(i). For the following reasons, I DENY the motion.

                                         DISCUSSION

       Compassionate release is a statutory exception to the rule that a court may not modify a

term of imprisonment once it has been imposed. 18 U.S.C. § 3582( c). Upon a proper motion, the

court may reduce a term of imprisonment if, after considering applicable factors set forth in

§ 3553(a), the court finds that "extraordinary and compelling reasons warrant such a reduction"




I - OPINION AND ORDER
          Case 3:18-cr-00599-MO               Document 141          Filed 12/02/21        Page 2 of 2




and the reduction is "consistent with applicable policy statements issued by the Sentencing

Commission." 18 U.S.C. § 3582(c)(1 )(A). 1

        However, before a court may consider a motion for compassionate release, a defendant

must exhaust his administrative remedies. Id. When the government raises it as a defense,

exhaustion is "mandatory and must be enforced." United States v. Keller, 2 F.4th 1278, 1282 (9th

Cir. 2021). Mr. Wood provides no indication that he has done so. Though he may have alleged

exhaustion of administrative remedies in previous motions to dismiss, see Op. & Order [ECF

127] at 2, Mr. Wood has failed to show he has exhausted administrative remedies for the issues

the instant motion raises. Keller, 2 F.4th at 1282 (finding administrative exhaustion for a

previous motion for compassionate relief did not satisfy the exhaustion requirement for

subsequent motions). Accordingly, I must deny Mr. Wood's request.

                                               CONCLUSION

        For the foregoing reasons, I DENY Mr. Wood's Motion to Reduce Sentence [ECF 132]

without prejudice. Mr. Wood may file a new motion after exhausting his administrative remedies

with the Bureau of Prisons.

        IT IS SO ORDERED.

        DATED this ~ a y of December, 2021.




1 At this time, however, "the Sentencing Commission has not yet issued a policy statement 'applicable' to
§ 3582(c)(l)(A) motions filed by a defendant." United States v. Aruda, 993 F.3d 797, 802 (9th Cir. 2021) (per
curiam).

2 - OPINION AND ORDER
